Case 2:04-cr-20452-.]PI\/| Document 30 Filed 04/26/05 Page 1 of 2 Page|D 36

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IN THE UNITED STATES DISTRICT COURT 95`? 25 viii 15;3‘
FOR THE wESTERN DISTRICT oF TENNESSEE _ nw
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UNITED STATES OF AMERICA,
Plaintiff,

v. Cr. No. 04~20452

DARRELL LESTER,

Defendant.

-_4~__¢-_¢-_¢--_¢-_¢-._/-_/-_/-_,¢

 

ORDER WITHDRAWING ORDER OF REFERENCE

 

The Court having granted attorney Linda Khumalo'e Motion to
Withdraw and having appointed new counsel during the report date
on April 22, 2005, the Order of Reference entered April 21, 2005

iS hereby WITHDRAWN.

So oRDERED THIS F?ODAY oF April, 2005.

@>WU

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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Honorable J on McCalla
US DISTRICT COURT

